                 Case 2:14-cr-00239-KJM Document 234 Filed 11/19/18 Page 1 of 1


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 6
                                    UNITED STATES DISTRICT COURT
 7
                                    EASTERN DISTRICT OF CALIFORNIA
 8
 9
10   UNITED STATES OF AMERICA,                            CR. No.: 14-239 GEB

11                     Plaintiff,                         [PROPOSED] ORDER SEALING
12                                                        DOCUMENTS AS SET FORTH IN THE
                vs.                                       PARTIES’ NOTICE
13
14   ADALBERTO VALENZUELA-RUIZ,

15                     Defendant.
16
17                     Pursuant to Local Rule 141(b) and based upon the representations

18   contained in the parties’ Request to Seal and the factors set forth in In Re Copley Press,

19   Inc., 518 F.3d 1022, 1028 (9th Cir. 2008), IT IS HEREBY ORDERED that the three-

20   page document pertaining to defendant Adalberto Valenzuela-Ruiz, and the parties’

21   Request to Seal shall be SEALED until further order of this Court. See also, United

22   States v. John Doe, 2017 WL 3996799 (9th Cir. Sept. 12, 2017)

23              It is further ordered that access to the sealed documents shall be limited to the

24   United States and counsel for the defendant.

25              Dated: November 15, 2018

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     11/15/18
